                 Case 1:21-cv-00175-RC Document 77-1 Filed 03/18/22 Page 1 of 1




From: Bankert, Roger L <rbankert@blm.gov>
Sent: Friday, January 28, 2022 9:36 AM
To: Donna Bowles <dbowles@nahelium.com>
Cc: Vance Blydo <vblydo@nahelium.com>; McDonald, Brandon A <bamcdona@blm.gov>
Subject: Re: [EXTERNAL] RE: NAH

Donna

Currently the BLM is in litigation on some leases. Because of all the moving parts in this litigation, including
whether supplemental NEPA may be part of any forthcoming settlement, it is BLM's decision to wait and see
the final settlement terms and then determine how best to proceed with the pending APDs EA.

Thanks
Roger


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IDEA - Inclusion, Diversity, Equity, Accessibility




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